      Case 15-40068        Doc 22      Filed 10/24/18 Entered 10/24/18 11:54:49                 Desc Notice to
                                            File Claims Page 1 of 1
                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF MINNESOTA



                                                           Case No.: 15−40068 − RJK
                                                           Chapter: 7

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):

   Julie Ann Holm

   831 Orange Street
   Lino Lakes, MN 55014

   Social security/Taxpayer ID/Employer
   ID/Other Nos.: xxx−xx−3477

                                           NOTICE TO FILE CLAIMS



Payment of a dividend appears possible in this case. The previous notice stated that no claims may be filed.
Accordingly, pursuant to Bankruptcy Rule 3002(c)(5), creditors are hereby notified that proofs of claim must be filed
by 1/28/19 , or, for governmental units, within 180 days from the date of the Order for Relief or 1/28/19 , whichever
is later. Proofs of claim can be filed electronically on the court's website: www.mnb.uscourts.gov . No login or
password is required. Alternatively, a Proof of Claim form (Official Form 410) can be obtained at the same website
or at any bankruptcy clerk's office.


Dated: 10/24/18

                                                           Lori Vosejpka
                                                           Clerk, U.S. Bankruptcy Court
                                                           301 U.S. Courthouse
                                                           300 South Fourth Street
                                                           Minneapolis, MN 55415


                                                           BY: admin
                                                           Deputy Clerk

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